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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


    IN RE: DEALER MANAGEMENT                                  MDL No. 2817
    SYSTEMS ANTITRUST LITIGATION                              Case No. 18-cv-00864

    This Document Relates To:                                 Hon. Rebecca R. Pallmeyer

    THE DEALERSHIP CLASS ACTION



       DEALERSHIP CLASS PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

         Dealership Class Plaintiffs (collectively, “Dealers” or “Plaintiffs”), hereby move the Court for

an order granting class certification in this matter.

         1.        Plaintiffs seek certification of the following proposed classes (collectively, “Dealer

Classes”) of automobile dealerships for injunctive relief under Fed. R. Civ. P. 23(b)(2) and for

monetary damages under Fed. R. Civ. P. 23(b):

         The Nationwide Injunction Class
         All persons and entities located in the United States engaged in the business of retail
         sales of new automobiles (“Dealership Plaintiffs”) that directly purchased Dealer
         Management Systems (“DMS”) 1 and indirectly purchased Data Integration Services
         (“DIS”) 2 from CDK Global, LLC (“CDK”) and/or The Reynolds and Reynolds
         Company (“Reynolds”), and/or any predecessor, successor, subsidiary, joint venture
         or affiliate, during the period September 1, 2013 to the present (“Class Period”).

         The Nationwide Damages Class
         All Dealership Plaintiffs that indirectly purchased DIS from CDK and/or Reynolds,
         and/or any predecessor, successor, subsidiary, joint venture or affiliate, during the
         Class Period.


1 Dealer Management Systems or “DMS” are a combination of hardware and software computer tools that

allow retail automotive dealers to integrate various aspects of their business into a single, interactive platform
by consolidating data, including customer information, human resources, inventory, marketing, payroll, and
vehicle repair and service.
2 Data Integration Services or “DIS” are services, offered by Defendants or through independent data
integrators, used by a third-party software application vendor to access, manipulate, extract, and update a
Dealer’s data, including: customer information; human resources; inventory; marketing; payroll; and vehicle
repair and service, within the DMS in order for a Dealer to utilize a vendor’s software application.
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        The State Law Damages Class
        All Dealership Plaintiffs located in the States of Alaska, Arizona, California, Colorado,
        Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi,
        Nebraska, Nevada, New Hampshire, New Mexico, New York, Oregon, Rhode Island,
        South Carolina, South Dakota, Utah, Vermont, West Virgina, and Wisconsin that
        indirectly purchased DIS from CDK and/or Reynolds, and/or any predecessor,
        successor, subsidiary, joint venture or affiliate, during the Class Period.

        2.         Plaintiffs seek certification of: (i) a Nationwide Injunction Class for relief under the

Sherman Act, 15 U.S.C. § 1, et seq.; (ii) a Nationwide Damages Class for claims under the Illinois

Antitrust Act, 740 ILCS 10/1, et seq.; and (iii) a State Law Damages Class consisting of a single class

of Dealerships seeking monetary relief in accordance with the laws of twenty-six separate

jurisdictions. 3 In the alternative, twenty-six individual state law classes can be certified.

        3.         The Dealer Classes exclude: CDK and Reynolds (collectively, “Defendants”), their

subsidiaries, affiliates, officers, directors or employees; any entity in which any Defendant has a

controlling interest; and any affiliate, legal representative, heir or assign of any Defendant; any federal,

state governmental entities, any judicial officer presiding over this action and the members of his/her

immediate family and judicial staff, and any juror assigned to this action.

        4.         The following previously named Plaintiffs (“Named Plaintiffs”) seek appointment as

Class Representatives: Continental Autos, Inc., doing business as Continental Toyota; Continental

Classic Motors, Inc., doing business as Continental Autosports; Kenny Thomas Enterprises, Inc.,

doing business as Olathe Toyota; Waconia Dodge, Inc.; John O’Neil Johnson Toyota, LLC; Jim Marsh

American Corporation, doing business as Jim Marsh Mitsubishi Suzuki Kia Mahindra; Pitre Imports,

LLC, doing business as Pitre Kia; Pitre, Inc., doing business as Pitre Buick GMC; Patchogue 112




3 Alaska, Colorado, Iowa, Maine, New Hampshire, Rhode Island, South Dakota, Utah, Wisconsin do not

currently have a proposed named Class Representative. However, the claims of the current and proposed
named representatives (see infra ¶¶ 4-5) parallel those of the unrepresented states so that success on the merits
of the represented states will dictate success on the merits of the unrepresented states. See In re Pork Antitrust
Litig., 2023 WL 2696497, at * 17-18 (D. Minn. Mar. 29, 2023).



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Motors LLC, doing business as Stevens Ford; JCF Autos LLC, doing business as Stevens Jersey City

Ford; Jericho Turnpike Sales LLC, doing business as Ford & Lincoln of Smithtown; Gregoris Motors,

Inc., and Hoover Automotive, LLC, doing business as Hoover Dodge Jeep of Summerville. Named

Plaintiffs are asserting damages and injunctive relief claims under federal law as well as based upon

where they reside or purchased DMS and/or DIS, specifically in Illinois, Kansas, Minnesota,

Mississippi, Nevada, New Mexico, New York, and South Carolina.

        5.      Plaintiffs seek to add the following dealerships as new Class Representatives (“New

Class Representatives”): Henry Brown Buick GMC, LLC; GSM Auto Group, LLC, doing business as

Infiniti Mission Viejo; GSM Auto Group II, LLC, doing business as Audi Mission Viejo; GSM Auto

Group III, LLC, doing business as Volvo Cars Mission Viejo; Sandy Sansing Chevrolet, Inc. doing

business as Sandy Sansing Chevrolet Pensacola; Tony Automotive Group LLC doing business as (i)

Tony Volkswagen; (ii) Tony Hyundai; (iii) Genesis of Waipio; and (iv) Tony Hyundai Honolulu, Tony

Hawaii LLC doing business as Tony Honda; Pacific Nissan LLC doing business as Tony Nissan; Tony

Hawaii Hilo LLC doing business as Tony Honda Hilo; Tony Hawaii Kona LLC doing business as

Tony Honda Kona; Taylor Chevrolet, Duteau Chevrolet Co., doing business as DuTeau Chevrolet;

Landmark Ford; Automaster BMW; Automaster Honda; Automaster Mercedes-Benz, Mini of

Birmingham; L&S Motors of Beckley, Inc., doing business as L&S Toyota of Beckley; Toyota of Ann

Arbor; and Rochester Hills Chrysler Jeep Dodge Ram. 4 New Class Representatives are asserting

damages and injunctive relief claims under federal law as well as based upon where they reside or

purchased DMS and/or DIS, specifically in Arizona, California, Florida, Hawaii, Michigan, Nebraska,

Oregon, Vermont, and West Virginia.

        6.      Dealers, as specified in ¶¶ 4-5, seek injunctive relief and recovery for themselves and


4 A list of new proposed Class Representatives on behalf of Dealers, their corresponding states, and a
description of each is attached to the accompanying Wedgworth Declaration as Exhibit A.



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all members of the Dealer Classes who paid artificially inflated prices for DMS and/or DIS and/or

experienced DMS decreased functionality as a result of Defendants’ anticompetitive conduct.

        7.       As set forth in the accompanying Memorandum of Law in Support of the Motion for

Class Certification, Plaintiffs have satisfied the requirements of Fed. R. Civ. P. 23.

        8.       In support of this Motion, Plaintiffs incorporate the accompanying Memorandum of

Law, Declaration of Peggy J. Wedgworth, November 21, 2023 Expert Class Certification Report of

Dr. Michael Williams, and any exhibits and appendices filed concurrently herewith.


WHEREFORE, Plaintiffs respectfully request that the Court enter an Order: (i) certifying the

Classes; (ii) appointing Named Plaintiffs and New Class Representatives as representatives of the

Classes; and (iii) appointing Peggy J. Wedgworth and Milberg Coleman Bryson Phillips Grossman,

PLLC as Dealership Lead Class Counsel, and Leonard A. Bellavia and Bellavia Blatt, PC, Daniel

Hedlund and Michelle Looby and Gustafson Gluek, PLLC, and James Barz and Frank Richter and

Robbins Geller Rudman & Dowd LLP as the Dealership Class Plaintiffs’ Steering Committee, and

Robert A. Clifford and Clifford Law Offices as Liaison Counsel.




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Dated: November 21, 2023                   Respectfully submitted,

                                           /s/ Peggy J. Wedgworth_
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                                           Plaintiffs




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                                CERTIFICATE OF SERVICE

I, Peggy J. Wedgworth, an attorney, hereby certify that on November 21, 2023, I caused a true
and correct copy of the foregoing DEALERSHIP CLASS PLAINTIFFS’ MOTION FOR
CLASS CERTIFICATION to be filed and served electronically via the Court’s CM/ECF
system. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                        /s/ Peggy J. Wedgworth
                                                        Peggy J. Wedgworth
